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            Oregon                                                   Oregon Department of Corrections
                                                                                              Rel ig ious Services
                                                                                               OSC I Residence 3
                                                                                           3405 Deer Park Dr. SE
                 Kate Brown, Governor                                                           Salem, OR 973 10
                                                                                            Phone: 503-378-2534
                                                                                              Fax: 503-3 78-2648

April 27, 2020



AIC Douglas, Damien, SID #10131429
Oregon State Penitentiary
2605 State St.
Salem, OR 97310



Dear Dam ien Douglas,

This letter is in response to your Final Grievance Appeal, #OSP-2020-02-00lAA, in which you allege you
have never been asked to keep the noise down during a religious services act ivity.

I have reviewed your appeal, as well as all prior documentation relating to th is grievance. Not only
volunteers, as you mentioned, but Chaplains from the department's Religious Services Unit have had to
respond to this event and have asked the Adults in Custody to quiet down and refrain from vulgar
language. OAR 291-143-0130 allows the Department of Corrections to restrict religious services
activities when deemed necessary. There does not need to be "fist fights" to have safety and security
concerns or to take restrictive action . The chapel is to be a place of reverence and not loud vulgar
talking. I understand your desire to comply with the group prayer tradition of your religious affiliation
howeve r, when this cannot be accomplished in an orderly, safe and secure fashion, the Department of
Correction has the authority and must take action to ensure t he experience is safe and secu re for all.

Thank you for addressing your concerns appropriately. This concludes the grievance review process for
this matter.




Daryl Borello
Administrator                                                             SENT
                                                                       APR 0 v ~ .. LO
cc:     A. Kidwell, Grievance Coordinator
                                                                OSP/MCCF GRIEVANCE OFFICE




                      Dameion Douglas (AIC), SID #10131429 v Thompson, et al, USDC 6:20-cv-00546-AA
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List in detail all the reasons you disagree with the original grievance response or initial appeal response. (For the initial appeal,
attach original grievance form and staff response. For the final appeal, attach the initial appeal form and response as well as the
original grievance and response.)

       T~ ~ ~9lf                                                                          d~     h /L                  I       .                       •




Describe what action you want taken to resolve the grievance appeal if different from original grievance submission .

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For grievance information see back page. Distribution: Green (Original grievance form); Goldenrod (Inmate receipt after processed)              CD 117C (10/2019)




                                       Dameion Douglas (AIC), SID #10131429 v Thompson, et al, USDC 6:20-cv-00546-AA
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                     regon                                            Oregon Department of Corrections
                                                                                               Religious Services
                                                                                                OSCI Residence 3
                                                                                            3405 Deer Park Dr. SE
               Kate Brown, Governor                                                              Salem, OR 97310
                                                                                             Phone: 503-378-2534
                                                                                               Fax: 503-378-2648

March 13, 2020



AIC Douglas, Damien, SID #10131429
Oregon State Penitentiary
2605 State St.
Salem, OR 97310



Dear Mr. Douglas,

This letter is in response to your Initial Grievance Appeal, #OSP _2020_02_001A, in which you claim
there is no safety or security concern with NOi Jummah Prayer.

I have reviewed your appeal, as well as all prior documentation relating to this grievance. On occasion,
the Adults in Custody (AICs) atJummah Prayer were being loud and using inappropriate language. Both
Chaplain Stahlnecker and Chaplain Thompson, from their respective offices, could hear loud voices
coming from the room. Chaplain Stahlnecker had to leave his other duties to come tell the group to
quiet down. There were also reports from volunteers in the rooms nearby that stated that this group
has been loud a number of times and they had to leave their service to ask the group to quiet down. This
type of behavior is not permitted in the chapel area. At the chapel, it is our expectation that all AICs
show respectful behavior and respect the space of others.

According to OAR 291-143-0130 Restriction of Religious Activity/Items: An inmate's participation in
approved religious activities and possession of approved religious items may be restricted by the
Department of Corrections when deemed necessary to maintain facility -security, safety, health and
order, or to further inmate rehabilitation or other penological interest, consistent with applicable legal
standards. Staff and volunteers that must leave their station to deal with a disruptive group does create
a potential security risk in the chapel. Temporary suspension of the service was appropriate, based on
AIC continued disruptive behavior. In consultation with our Islamic advisor, sending the weekly khutba
to read in cell is an alternative when the group services cannot be accommodated .

Thank you for addressing your concerns appropriately.




2201
s;omely,                                                                          SENT
                                                                              MAR 23 2020
                                                                       OSP/MCCF GRIEVAN CE OFFICE
Assistant Administrator



cc:     A. Kidwell, Grievance Coordinator




                    Dameion Douglas (AIC), SID #10131429 v Thompson, et al, USDC 6:20-cv-00546-AA
                                                                                      DOUG-0066
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List in detail all the reasons you disagree with the original grievance response or initial appeal response. (For the initial appeal,
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original grievance and response.)

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Describe what action you want ~                     resolve the grievance appeal if different from original grievance submission.

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                                                         GRIEVANCE RESPONSE FORM


     TO BE FILLED OUT BY STAFF                                                                      Grievance: #OSP_2020_02_001

     TO:         Douglas, Dameion                                              10131429
                 Name of grievant                                                 SID#

     FROM: Karuna Thompson & Dennis Stahlnecker                                Chaplains
           Name of respondent                                                     Title

  List, in detail, action(s) taken. (What action was taken? Was the action what the inmate requested? If not, why? Who
  took the action? When was the action taken - date/time?)


On December 31st, due to noise issues and issues of disrespectful language at a high volume continuing from August of
2019 through December of 2019 the Nation of Islam group was suspended due to safety and security concerns. Because
this was a group issue and not the behavior of a single individual the whole group was suspended. During the suspension
each individual on the roster is being sent the weekly khutba (prayer) and is being provided opportunity to shower at mid-
day before they say their prayers. The Only suspension is the corporate prayer that has caused continuous disturbance. It
is our intention to provide the least restrictive means of practice for members of this community that adhere to the safe
and secure operations of our area. Attached please find a copy of the memo sent to all men on the roster.




                                                                Do not type past this line



Datt!:      7                                                                                         Signature of Staff Member
                                                                                                          StuartYoung
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              STATE OF OREGON                                             INTEROFFICE MEMO
              DEPARTMENT OF CORRECTIONS
              OREGON STATE PENITENTIARY



TO:
              NOI Community Membe_w I~-~     ~                              ,.©,,./    -~   }W,J-,-
FROM:         Chaplain Karuna ThompW& Chaplain Dennis Stahlnecker            -~

SUBJECT:      Suspension of NOI Jumuah Prayer for 90 Days

Due to continuous issues regarding disrespectful language and behaviors in this group it will be suspended
for 90 days. During this time the chapel will send people on the list for the service the weekly Khutba so
that members of the community can perform their prayer independently. When the services resume again
on April 3, 2019 the group will be expected to say their mandatory group prayer, read the khutbah without
discussion and clear the room following the service. No lingering in the room or outside conversation will
be permitted. Attached please find a copy of the Religious Services Department Procedure on Jumuah
Prayer.




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                            Oregon Department of Corrections
                                         Religious Services Procedure
                                                                                                                      '
                           Procedure for Chaplains to Coordinate, Facilitate and
Subject:

Effective Date:
                           Su rvlse Islamic Jumuah Pra er Each Frida
                           September 21,- 2005                                                                        r
                           Tom O'Connor Administrator, Religious Services
Decision Maker(s):         Paula Allen, Chief of Security
                           Institution Security Managers
Related Rule               OAR 291-143: Religious Activities (Inmate)

Purpose
Rule 291-143-0070(1) states that a chaplain or designee in each facility shall be responsible for
the "coordination, facilitation and supervision of inmate religious activities". This functional unit
procedure provides guidelines for chaplains or their deslgnees to coordinate, facilitate, and
supervise Jumuah (or Friday) prayer for Muslim inmates. This procedure applies when there
are no Islamic volunteers available to conduct Jumuah prayer. The procedure represents the
views of the Oregon Department of Corrections about Jumuah prayer.

Definitions
Jumuah Prayer: The word Jumuah means Friday and all Muslims are expected to attend                                    L
Jumuah or Friday prayer. The Holy Quran, the most sacred Islamic text, says "O you who
believe! When the call is made for Friday prayer, then hasten to the remembrance of Allah and
leave off business; that is better for you, if you know• (Quran 62:9).

Khutba: A khutba is a talk or a sermon that is said aloud by a speaker (the khateeb) at Jumuah
prayer. The khutba should contain at lease one verse from the Holy Quran and one Hadith (or
saying) from the prophet Muhammad.

Procedure
   • An ODOC chaplain or designee will coordinate, facilitate, and supervise Jumuah prayer
     each Friday when: 1) _at least three inmates in the fact1ity request Jumuah; and 2) a
     chaplain or deslgnee is available to do so at the facility. When a cha'plain or designee is
     not available, inmates may not "direct, lead, or conduct" Jumuah prayer on their own
     (Rule 291-143-0070(4)).
   •   The chaplain will assign Muslim inmates, on a rotating basis, to be responsible for
       different roles or parts in Jumuah. One person does the "call to prayer." One person
       reads the assigned Khutba. The third person (and anyone else who is present) listens to
       the Khutba and makes other prayers (or Rakah - standing, bowing, prostrating, and
       sitting). The chaplain should always seek to assign the khutba and the call to prayer
       only to inmates who demonstrate pro-social behavior. The person who is chose to read
       the khutba Is not permitted to change it, or discuss Its contents during Jumuah.



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'   ..

           •   Prior to Jumuah each week, a chaplain will obtain a written copy of a khutba from a
               Muslim source recognized by the department.
           •   Jumuah must take place in the afternoon during a certain time period that is allotted for
               Jumuah prayer by the Muslim faith.
           •   A staff chaplain or designee will supervise Jumuah prayer as it takes place.
           •   Islamic practice mandates that everyone should remain silent while preparing for and
               during Jumuah prayer. Therefore the chaplain or designee should encourage everyone
               to maintain a respectful silence during Jumuah prayer.




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Whom are you grieving:            C~tt,l &,rkflh 1/,t1"'f'1.J,/~j)µVll]S-h'!il'/&Jv
Please provide the date/time of incident giving rise to grievance :                     ---:$en, J7"; ~/}){)
List in detail all the reasons for your grievance. (What is the problem? When did it happen - date/time/place?) Attach copies of any
documents or any material(s), which suppor your grievance, including the names of any persons you think should be questioned .

       7'                                                                                     J;




Describe what action you want taken to resolve the grievance. (How can the problem be solved?)



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                                        Dameion Douglas (AIC), SID #10131429 v Thompson, et al, USDC 6:20-cv-00546-AA
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